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            IN THE IOWA DISTRICT COURT FOR POLK COUNTY

BRADLEY A. CHICOINE, D.C., DR. BRADLEY
A. CHICOINE, D.C., P.C., MARK A. NILES,
D.C, NILES CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN WINECOFF, D.C.,
on behalf of themselves and those like situ-
ated,

      Plaintiffs,

and                                                  Law No.

STEVEN A. MUELLER, D.C., BRADLEY J.
BROWN, D.C., BROWN CHIROPRACTIC,
P.C.; MARK A. KRUSE, D.C., DR. MARK A.
KRUSE, D.C., P.C., KEVIN D. MILLER, D.C.,
and LARRY E. PHIPPS, D.C., on behalf of
themselves and those like situated,

      Plaintiffs,

vs.

WELLMARK, INC d/b/a WELLMARK BLUE
CROSS AND BLUE SHIELD OF IOWA, an
Iowa corporation, and WELLMARK HEALTH
PLAN OF IOWA, INC., an Iowa corporation,

      Defendants.




                               PETITION AT LAW
                              (Jury Trial Demanded)




                                           1

                                                                            EXHIBIT 1
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                                         UCOUNT I

  PLAINTIFFS’ CLASS ACTION AND CONDUCT ALLEGATIONS OF HORI-
    ZONTAL CONSPIRACY IN RESTRAINT OF TRADE OR COMMERCE


                                NATURE OF THE CASE

       1.      Plaintiffs bring this action on behalf of themselves and a class of Iowa li-

censed doctors of chiropractic who are citizens of the state of Iowa as of the date of fil-

ing. They seek damages from Defendants Wellmark, Inc., and Wellmark Health Plan of

Iowa, Inc. (“Wellmark Defendants”) for combination and conspiracy in restraint of trade

or commerce in the purchase of health care delivery from Iowa chiropractors in setting

the price paid for chiropractic services at a discriminatory low level and in restricting

patient access to and coverage for treatment by Iowa-licensed doctors of chiropractic.

       2.      This Petition is intended to conform to the Opinions of the Iowa Supreme

Court in the case of Mueller v. Wellmark, Inc., 818 N.W.2d 244 (Iowa, July 27, 2012)

and 861 N.W.2d 563 (Iowa, February 27, 2015), rehearing denied, 2015 Iowa Sup.

LEXIS 54 (April 21, 2015).

       3.      In its essence, this Petition alleges that Wellmark Defendants have, by

contract, conspiracy and other unlawful means, conspired and combined to:

               (a)    enter into agreements with other potential price competitors to

artificially fix a lower price for chiropractic services and to limit or exclude chiro-

practic coverage from health plans offered by other potential competitors for chiro-

practic services in Iowa.

               (b)    enter into agreements with other independent entities to allo-

cate territories and not to compete with each other in those allocated territories


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              (c)    impose maximum fee schedules to which chiropractors must

agree with defendants, their co-conspirators, and with each other in order to pro-

vide diagnostic and treatment services for their patients in Iowa;

              (d)    prescribe fees for chiropractic services which are discriminatory

to doctors of chiropractic in relation to the fees for other health care practitioners

for the same or similar services;

              (e)    prescribe limitations upon and make optional the coverage of

diagnostic and treatment services of chiropractors while not imposing the same

standards and practices to the coverage of diagnostic and treatment services of

other practitioners of health care in Iowa licensed under the chapters of Title IV,

subtitle 3, of the Code of Iowa [Chapters 147 through 158];

              (f)    historically enter into a contract, combination and conspiracy

in restraint of trade or commerce in Iowa with health care providers other than chi-

ropractors to first boycott and then later discriminate against the diagnostic and

treatment services to members provided by Iowa chiropractors

              (g)    Beginning in approximately 2007, Wellmark Defendants at-

tempted to implement for itself and its co-conspirators a policy by which their sub-

scriber-patients who elected to seek chiropractic treatment would be covered for

only three treatment procedures per visit to a doctor of chiropractic regardless of

the acuity, severity, or nature of the patient’s condition or the number of her com-

plaints;

              (h)    Beginning in approximately 2007, Wellmark Defendants an-

nounced and attempted to implement for itself and its co-conspirators a policy by


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which subscriber-patients and those persons who were employees of self-funded en-

tities administered by Wellmark Defendants would be required to seek preapproval

of an agent of the Wellmark Defendants before any chiropractic services would be

paid, which policy solely related to chiropractic services and to no other services of

any other health care practitioner licensed by the state of Iowa;

               (i)    Wellmark Health Plan of Iowa, Inc. (“WHPI”) and its co-con-

spirators have implemented a plan solely related to Iowa chiropractors and to no

other health care practitioner licensed in Iowa whereby Iowa chiropractors only are

subject to a capitated payment system whereby chiropractors are paid at rate less

than 50% of the rate payable for PPO services, while all other Iowa licensed practi-

tioners covered by WHPI are paid pursuant to a schedule derived from the PPO pay-

ment schedules with a 7-9% discount.

       4.      Such horizontal conspiracies are unreasonable restrictions and restraints

of competition, trade or commerce in Iowa and the anticompetitive consequences of

such conspiracy or conspiracies outweigh any procompetitive benefits.

                              JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter of this action pursuant

to Iowa Code § 602.6101. This Court has personal jurisdiction over the Defendants in

that the Defendants are Iowa corporations with their corporate headquarters located in

Des Moines, Polk County, Iowa.

       6.      Venue is proper pursuant to Iowa Code Ch. 616.




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                                          PARTIES

       7.      The following individual plaintiff doctors of chiropractic bring this action

for damages and injunction on behalf of all doctors of chiropractic in Iowa similarly situ-

ated (1) who are citizens of the state of Iowa as of the date of filing of this petition or (2)

who have been citizens of Iowa at all times during their Iowa licensure as doctors of chi-

ropractic after May 20, 2004, which is four years prior to the filing of the Plaintiffs’ First

Amendment to Petitioner for Damages, for Permanent Injunction and for Declaratory

Judgment in Mueller et al v. Wellmark, Inc., et al, Law No. 107471, (Polk Co., Iowa,

Dist. Ct., filed May 20, 2008). The doctor of chiropractic Plaintiffs are referred to as the

“Provider Plaintiffs” or the “Providers.” They are:

               (a)    Plaintiff Bradley A. Chicoine, D.C., a doctor of chiropractic li-

censed to practice in the State of Iowa, and a citizen of the State of Iowa, is a resi-

dent of and practices chiropractic in Sioux City, Iowa. He is the owner of plaintiff

Dr. Bradley A. Chicoine, D.C., P.C., an Iowa professional corporation, which has its

principal place of business in Sioux City, Iowa. During all times material to this ac-

tion, Dr. Chicoine and/or his P.C. has provided and billed for chiropractic services

to patients who are enrolled in plans offered or administered by Defendants.

               (b)    Plaintiff Mark A. Niles, D.C., a doctor of chiropractic licensed to

practice in the State of Iowa, and a citizen of the State of Iowa, is a resident of and

practices chiropractic in Tipton, Iowa. He is the owner of plaintiff Niles Chiroprac-

tic, Inc., an Iowa corporation which has its principal place of business in Tipton,

Iowa. During all times material to this action, Dr. Niles and/or Niles Chiropractic




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has provided and billed for chiropractic services to patients who are enrolled in

plans offered or administered by Defendants.

               (c)    Plaintiff Rod R. Rebarcak, D.C., a doctor of chiropractic li-

censed to practice in the State of Iowa, and a citizen of the State of Iowa, is a resi-

dent of and practices chiropractic in Ames, Iowa. During all times material to this

action, Dr. Rebarcak has provided and billed for chiropractic services to patients

who are enrolled in plans offered or administered by Defendants.

               (d)    Plaintiff Ben Winecoff, D.C., a doctor of chiropractic licensed to

practice in the State of Iowa, and a citizen of the State of Iowa, is a resident of and

practices chiropractic in Ames, Iowa. During all times material to this action, Dr.

Winecoff has provided and billed for chiropractic services to patients who are en-

rolled in plans offered or administered by Defendants.

       8.      Additionally, the following individual plaintiff doctors of chiropractic

bring this action for damages and injunction, pursuant to the provisions of Iowa Code §

614.1o (2015), which states:

       If, after the commencement of an action, the plaintiff, for any causes ex-
       cept negligence in its prosecution, fails therein, and a new one is brought
       within six months thereafter, the second shall, for the purposes herein
       contemplated, be held a continuation of the first.

Procedendo came down in Mueller v. Wellmark, Inc., 861 N.W.2d 563 (Iowa, February

27, 2015), rehearing denied, 2015 Iowa Sup. LEXIS 54 (April 21, 2015), on April 22,

2015. The six months does not run until October 22, 2015. Thus, the net effect of §

614.10 in this case is that the five named plaintiffs can continue as class representatives,

because they, like the rest of the class still have a unruled upon claim for violation of


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Iowa Code § 553.4 under the rule of reason analysis. Accordingly, the following named

plaintiffs also bring this action on behalf of all doctors of chiropractic in Iowa similarly

situated (1) who are citizens of the state of Iowa as of the date of filing of this petition or

(2) who have been citizens of Iowa at all times during their Iowa licensure as doctors of

chiropractic after May 20, 2004, which is four years prior to the filing of the Plaintiffs’

First Amendment to Petitioner for Damages, for Permanent Injunction and for Declara-

tory Judgment in Mueller et al v. Wellmark, Inc., et al, Law No. 107471, (Polk Co., Iowa,

Dist. Ct., filed May 20, 2008). The doctor of chiropractic Plaintiffs are referred to as the

“Provider Plaintiffs” or the “Providers.” They are:

              (a)     Plaintiff Steven A. Mueller, D.C., a doctor of chiropractic li-

censed to practice in the State of Iowa, and a citizen of the State of Iowa, is a resi-

dent of and practices chiropractic in Algona, Iowa. During all times material to this

action, Dr. Mueller has provided and billed for chiropractic to patients who are en-

rolled in plans offered or administered by Defendants.

              (b)     Plaintiff Bradley J. Brown, D.C., a doctor of chiropractic li-

censed to practice in the State of Iowa, and a citizen of the State of Iowa, is a resi-

dent of and practices chiropractic in Oelwein, Iowa. He is the owner of plaintiff

Brown Chiropractic, P.C., an Iowa professional corporation, which has its principal

place of business in Oelwein, Iowa. During all times material to this action, Dr.

Brown and/or his P.C. has provided and billed for chiropractic services to patients

who are enrolled in plans offered or administered by Defendants.

              (c)     Plaintiff Mark A. Kruse, D.C., a doctor of chiropractic licensed

to practice in the State of Iowa, and a citizen of the State of Iowa, is a resident of and


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practices chiropractic in Sioux City, Iowa. He is the owner of plaintiff Dr. Mark A.

Kruse, D.C., P.C., an Iowa professional corporation, which has its principal place of

business in Sioux City, Iowa. During all times material to this action, Dr. Kruse

and/or his P.C. has provided and billed for chiropractic services to patients who are

enrolled in plans offered or administered by Defendants.

               (d)    Plaintiff Kevin D. Miller, D.C., a doctor of chiropractic licensed

to practice in the State of Iowa, and a citizen of the State of Iowa, is a resident of and

practices chiropractic in West Des Moines, Iowa. During all times material to this

action, Dr. Miller has provided and billed for chiropractic services to patients who

are enrolled in plans offered or administered by Defendants.

               (e)    Plaintiff Larry E. Phipps, D.C., a doctor of chiropractic licensed

to practice in the State of Iowa, at time of the filing of the Plaintiffs’ First Amend-

ment to Petitioner for Damages, for Permanent Injunction and for Declaratory

Judgment in Mueller et al v. Wellmark, Inc., et al, Law No. 107471, (Polk Co., Iowa,

Dist. Ct., filed May 20, 2008), was a citizen of the State of Iowa, and a resident of

and practitioner of chiropractic in Marshalltown, Iowa. During times material to

this action, Dr. Phipps has provided and billed for chiropractic services to patients

who are enrolled in plans offered or administered by Defendants.

       9.      Defendants Wellmark, Inc., and Wellmark Health Plan of Iowa, Inc., are

Iowa corporations with their corporate headquarters located at 1331 Grand Avenue, Des

Moines, Iowa. Wellmark, Inc. does business as Wellmark Blue Cross and Blue Shield of

Iowa. Wellmark and its subsidiaries and affiliated companies, including Wellmark Blue

Cross and Blue Shield of South Dakota and Wellmark Health Plan of Iowa, Inc., insure


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or pay health benefit claims for more than two million members in Iowa and South Da-

kota. Wellmark Blue Cross and Blue Shield of Iowa, Wellmark Blue Cross and Blue

Shield of South Dakota, and Wellmark Health Plan of Iowa, Inc. are independent licen-

sees of the Blue Cross and Blue Shield Association (“BCBSA”).

       10.    Defendant Wellmark, Inc., was originally incorporated on September 19,

1939, as a corporation not for pecuniary profit under what later became Chapter 504A of

the Code of Iowa, to operate a nonprofit health service plan under [now] Chapter 514 of

the Code of Iowa to provide payment for health care furnished to subscribers under con-

tract with the corporation. (Second Restated Articles of Incorporation, filed September

1, 1989). On October 1, 1991, Wellmark adopted a plan of mutualization to become a cor-

poration for pecuniary profit under Chapter 491 of the Code of Iowa and a mutual insur-

ance company under Chapter 508 of the Code of Iowa. The company merged with South

Dakota Medical Service, Inc., on July 25, 1996, and on May 15, 1997, it changed its name

to Wellmark, Inc., an Iowa corporation and mutual insurance company. Its registered

agent is CT Corporation System, 2222 Grand Avenue, Des Moines, Iowa 50312.

       11.    Defendant Wellmark Health Plan of Iowa, Inc., was incorporated in Iowa

on March 13, 1996, as an Iowa domestic profit corporation under Chapter 490 of the

Code of Iowa. Its stated purpose in its articles of incorporation is to establish and oper-

ate a health maintenance organization under Chapter 514B of the Code of Iowa. Its reg-

istered agent is CT Corporation System, 2222 Grand Avenue, Des Moines, Iowa 50312.

       12.    The Blue Cross and Blue Shield Association is a non-party co-conspirator

with the Wellmark defendants for purposes of the Iowa Competition Act. Wellmark De-

fendants are members of the Blue Cross and Blue Shield Association. The Blue Cross


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and Blue Shield Association developed provider contracts and manuals which are being

implemented in the State of Iowa by the Wellmark Defendants. The Blue Cross and

Blue Shield Association is headquartered in Chicago, Illinois, with offices in Washing-

ton, D.C. The Blue Cross and Blue Shield Association (BCBSA) is a national federation of

39 Blue Cross and Blue Shield companies. Collectively, the 39 Blue Cross and Blue

Shield System provides healthcare coverage for more than 99 million people or one-in-

three Americans. The vast majority (65+%) of those persons covered by the Blue Cross

and Blue Shield System are in PPO’s, and an even greater percentage of Wellmark De-

fendants users are in PPO’s. According to BCBSA, a Preferred Provider Organization

(PPO) is an arrangement designed to supply health care services at a discounted cost by

providing incentives for members to use designated health providers (who contract with

the PPO at a discount), but which also provides coverage for services rendered by health

care providers who are not part of the PPO network.

      13.    Historically, Wellmark’s predecessor under a former name was organized

and controlled by the Iowa Medical Society and the majority of its Board of Directors

were Iowa allopathic physicians. Under the control of allopathic physicians (and in later

times in combination with osteopathic physicians), Wellmark’s predecessor under a for-

mer name refused to seek authority to provide the services of chiropractors to its sub-

scribers and members. In furtherance of that combination and conspiracy, in more re-

cent times the Wellmark entities have established a scale of compensation for the same

or similar diagnostic and treatment services to its members wherein Iowa Doctors of

Medicine (M.D.’s) and Doctors of Osteopathy (D.O.’s) receive as much as 100% higher




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payment than chiropractors receive for the same or similar diagnostic and treatment

services.

       14.       In about September of 1998, Wellmark unilaterally offered one form of

participating provider agreement for all health care providers and adopted a payment

methodology purportedly based upon the Resource Based Relative Value System

(RBRVS) and began issuing annual statewide fee schedules. Contrary to the actual

RBRVS rates established by the Federal government, however, Wellmark implemented

the RBRVS system in a manner which discriminated against chiropractic services by es-

tablishing lesser rates for chiropractic diagnostic and treatment services than for the

same or similar services provided by M.D.’s, D.O.’s, physicians assistants, and nurse

practitioners.

       15.       The 38 other members of BCBSA are non-party co-conspirators with the

Wellmark defendants for purposes of the Iowa Competition Act. By agreement with

Wellmark, BCBSA, and each other, such independent licensed affiliates of the Blue

Cross and Blue Shield Association and licensed Blue Cross and Blue Shield Plans has

agreed with Wellmark to fix the price of Iowa chiropractic services in accordance with

the prices set by Wellmark under terms of the Practitioner Services Agreement and have

further agreed to allocate territories and not to compete in Iowa and South Dakota with

Wellmark.

       16.       Additionally, providers for the employees of all of the self-funded plans

Wellmark administers in Iowa use the same identical preferred provider panels as

Wellmark’s other coverages, i.e., they use providers contracted through Wellmark’s

Practitioner Service Agreement. By agreement with Wellmark, each of the self-funded


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plans administered in Iowa by Wellmark has agreed with Wellmark to fix the price of

Iowa chiropractic services in accordance with the prices set by Wellmark under terms of

the Practitioner Services Agreement and Administrative Services Agreement of

Wellmark Blue Cross and Blue Shield of Iowa. Accordingly, each of the self-funded plans

administered by Wellmark is a non-party co-conspirator with the Wellmark defendants

for purposes of the Iowa Competition Act.

       17.    Wellmark and various Iowa private and government self-funded employ-

ers agree to jointly use the Wellmark PPO and HMO provider networks for the purchase

of provider services. The network providers are not parties to these agreements. The

self-funded employers agree to pay Wellmark a separate monthly fee which is a percent-

age of the difference between what the provider usually bills for the service and the Max-

imum Allowable Fee Wellmark established in its annual provider fee schedules. In other

words, if the provider usually bills $500 for services and the Wellmark fee schedule sets

$225 as the maximum it will pay a provider for such services, Wellmark receives a per-

centage of the $275 difference from the self-funded employer as a Network Access Fee.

This price setting fee is separate from the additional fee Wellmark charges Iowa private

and government self-funded employees for claims administration services.

                            CLASS ACTION ALLEGATIONS

       18.    Plaintiffs bring this action individually and as a class action pursuant to

Iowa Rules of Civil Procedure 1.261 et seq on behalf of all chiropractors licensed in Iowa

(1) who are citizens of Iowa as of the date of filing of this petition, or, (2) where citizens

of Iowa on May 20, 2008, the date of the pleading in Mueller et al v. Wellmark, Inc., et

al, Law No. 107471, (Polk Co., Iowa, Dist. Ct., pleading asserting class action filed May


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20, 2008), which tolls the statute of limitations for the Provider Plaintiffs and proposed

provider plaintiff class in this case for all times after May 20, 2004, which is four years

prior to the filing of the Plaintiffs’ First Amendment to Petitioner for Damages, for Per-

manent Injunction and for Declaratory Judgment in the Mueller case (Iowa R. Civ. P.

1.277), or, (3) who have been citizens of Iowa at all times during their Iowa licensure as

doctors of chiropractic after May 20, 2008, each of whom have been damaged in their

businesses by defendants’ actions described below (the “Class”).

       19.    This action is properly maintainable as a class action.

       20.    The Class are so numerous that joinder of all members is impracticable.

There are approximately 1200 chiropractors licensed in Iowa who are citizens of the

state of Iowa at the time of the filing of this petition. The names of the absent members

of the class can be ascertained so that personal or mailed notice of the class action can

be given them.

       21.    There are questions of law and fact which are common to the Class and

which predominate over questions affecting any individual Class member. The common

questions include, inter alia, the following:

              (a)    whether Wellmark defendants have entered into agreements

with other potential price competitors to artificially fix a lower price for chiropractic

services and to limit or exclude chiropractic coverage from health plans offered by

other potential competitors for chiropractic services in Iowa.

              (b)    Whether Wellmark defendants have entered into agreements

with other independent entities to allocate territories and not to compete with each

other in those allocated territories


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              (c)    whether Wellmark defendants have imposed maximum fee

schedules to which chiropractors must agree with defendants, their co-conspirators,

and with each other in order to provide diagnostic and treatment services for their

patients in Iowa;

              (d)    whether Wellmark defendants have prescribed fees for chiro-

practic services which are discriminatory to doctors of chiropractic in relation to the

fees for other health care practitioners for the same or similar services;

              (e)    whether Wellmark defendants have prescribed limitations upon

and make optional the coverage of diagnostic and treatment services of chiroprac-

tors while not imposing the same standards and practices to the coverage of diag-

nostic and treatment services of other practitioners of health care in Iowa licensed

under the chapters of Title IV, subtitle 3, of the Code of Iowa [Chapters 147 through

158];

              (f)    whether Wellmark Defendants have engaged in a contract,

combination or conspiracy between two or more persons to restrain (monopsonize)

trade or commerce in Iowa as a whole and in major population centers of Iowa un-

der Iowa Code § 553.4 (2007);

              (g)    whether such horizontal conspiracies are unreasonable re-

strictions and restraints of competition, trade or commerce in Iowa and the anti-

competitive consequences of such conspiracy or conspiracies outweigh any procom-

petitive benefits.

              (h)    whether plaintiffs and the Class they represent have been in-

jured by conduct prohibited by Section 553.4, Code of Iowa (2007); and,


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                 (i)    whether the case of Mueller et al v. Wellmark, Inc., et al, Law

No. 107471, (Polk Co., Iowa, Dist. Ct., pleading asserting class action filed May 20,

2008) tolls the statute of limitations for the Provider Plaintiffs and proposed pro-

vider plaintiff class in this case for all times after May 20, 2004, which is four years

prior to the filing of the Plaintiffs’ First Amendment to Petitioner for Damages, for

Permanent Injunction and for Declaratory Judgment in the Mueller case. Iowa R.

Civ. P. 1.277.

                 (j)    whether the proposed class of chiropractic plaintiffs have been

damaged in the four years previous to filing of the Mueller pleading asserting class

action status and to the present by the invidious treatment by the Wellmark defend-

ants and their co-conspirators, who have uniformly and discriminatorily paid chiro-

practors less for the same or similar services than has been paid for the same or sim-

ilar services of other health care practitioners in Iowa.

                 (k)    whether the measure of damages to Provider Plaintiffs and to

the proposed provider plaintiff class are subject to uniform and simple calculation

applicable to all plaintiffs, and are not subject to individual situations among the

provider plaintiff class which would require individualized trials for any of the pro-

posed provider plaintiff class members;

                 (l)    whether plaintiffs and the class are entitled to injunctive relief

from the horizontal conspiracies in restraint of competition, trade or commerce.

       22.       Plaintiffs’ claims are typical of the claims of the other members of the

Class and plaintiffs do not have any interests adverse to the Class.




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       23.    Plaintiffs are adequate representatives of the Class, and have retained

competent counsel experienced in litigation of this nature and will fairly and adequately

protect the interests of the Class. The named plaintiffs and their attorneys have or can

acquire adequate resources to ensure that the interests of the class will not be harmed.

       24.    The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual

members of the Class which would establish incompatible standards of conduct for the

party opposing the Class under the standard of I.R.C.P. 1.262(3)(b).

       25.    Adjudications with respect to individual members of the class as a practi-

cal matter would be dispositive of the interests of other members not parties to the adju-

dication or substantially impair or impede their ability to protect their interests under

the standard of I.R.C.P. 1.262(3)(c).

       26.    Plaintiffs anticipate that there will be no difficulty in the management of

this litigation. A class action is superior to other available methods for the fair and effi-

cient adjudication of this controversy.

       27.    Defendants have acted on grounds generally applicable to the Class with

respect to the matters complained of herein, thereby making appropriate the relief

sought herein with respect to the Class as a whole.



                  TOLLING OF THE STATUTE OF LIMITATIONS

       28.    The statute of limitations for the Providers Plaintiffs and the proposed

provider plaintiff class has been tolled is tolled for all class members upon the com-

mencement of an action asserting a class action. The case of Mueller et al v. Wellmark,


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Inc., et al, Law No. 107471, (Polk Co., Iowa, Dist. Ct., pleading asserting class action filed

May 20, 2008) tolls the statute of limitations for the Provider Plaintiffs and proposed

provider plaintiff class in this case for all times after May 20, 2004, which is four years

prior to the filing of the Plaintiffs’ First Amendment to Petitioner for Damages, for Per-

manent Injunction and for Declaratory Judgment in the Mueller case. Iowa R. Civ. P.

1.277.

         29.   The limitations statute resumes running under any one of four conditions

stated in Iowa R. Civ. P. 1.277(1) – (4):

         1.277(1) Upon filing an election of exclusion by that member.
         1.277(2) Upon entry of an order of certification, or of an amendment thereof,
         eliminating that member from the class.
         1.277(3) Except as to representative parties, upon entry of an order under rule
         1.262 refusing to certify an action as a class action.
         1.277(4) Upon dismissal of the action without an adjudication on the merits.

None of those conditions is applicable to Provider Plaintiffs or the proposed provider

plaintiff class in this case.

         30.   The doctrine of class action tolling was first established by the United

States Supreme Court in the landmark case American Pipe & Constr. Co. v. Utah, 414

U.S. 538, 94 S. Ct. 756, 38 L. Ed. 2d 713 (1974). The Supreme Court in American Pipe

limited its holding to instances in which the plaintiffs seek to intervene in a class action

where class certification has been denied. The Court broadened this narrow holding,

however, in Crown, Cork & Seal Co. v. Parker, 462 U.S. 345, 103 S. Ct. 2392, 76 L. Ed.

2d 628 (1983), making clear that the statute of limitations is tolled not only as to those

class members seeking to intervene in the class action, but also as to individual actions

filed by members of the putative class.


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                       FACTUAL CONDUCT ALLEGATIONS

       31.    The Wellmark Defendants provide health services to the Iowa public on a

statewide basis by offering and operating health care plans. Wellmark Defendants pro-

vide health care services including administration of self-funded health care plans to ap-

proximately 1.8 million Iowa enrollees in various health care plans statewide.

       32.    Wellmark Defendants offer various health care coverage plans, including

Indemnity Products: Comprehensive Major Medical (Protector), Blue Traditions (Full

Service), Classic Blue (Alliance), Federal Employee Health Benefits Program (FEP), and

the Blue Cross and Blue Shield Association Out-of-Area Program (Blue Card); Preferred

Provider Organization Products: Alliance Select/Blue Select, Federal Employee Health

Benefits Program (FEP), and the Blue Cross and Blue Shield Association Out-of-Area

Program (Blue Card PPO); HMO Products: Blue Access, Blue Choice and Blue Ad-

vantage, and the Blue Cross and Blue Shield Association Out-of-Area Program (Blue

Card POS) to their subscribers.

       33.    In addition to offering coverage agreements to subscribers, Wellmark De-

fendants enter into agreements with the providers of health care services, including

those licensed under Iowa Code Ch. 148 (medical doctors -MD’s), Ch.150A (doctors of

osteopathic medicine –DO’s), Ch. 148C (physician’s assistants), Ch. 152 7 152E (nurse

practitioners), Ch. 148A (physical therapists) and Ch. 151 (doctors of chiropractic -DC’s).

       34.    Under these provider agreements with the Wellmark Defendants, health

care professionals, including the Provider Plaintiffs, render treatment services to pa-

tients who are enrolled in the Wellmark Defendants’ various plans and the plans of

Wellmark’s co-conspirators.

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       35.    Services are provided under the fundamental premise that, if the services

are covered and are medically necessary, the Wellmark Defendants’ enrollees will be

covered and the providers of the services, including the Provider Plaintiffs, will be com-

pensated in a timely manner for those services.

       36.    Wellmark Defendants have contracts with over 65 percent of the health

care insurance and 95 percent of the provider services market in Iowa, primarily

through PPO contracts.

       37.    Wellmark Defendants, together with their co-conspirators, use their over-

whelming economic power and market dominance to coerce the individual Provider

Plaintiffs into acquiescing in practice restrictions and reimbursement schedules detri-

mental to Provider Plaintiffs and by limiting and restricting patient access to Provider

Plaintiffs resulting in detriment to the physical care and choice of consumers.

       38.    This action is based on the relationships between the Provider Plaintiffs

and the Wellmark Defendants and their contractually bound co-conspirators, and also

on the belief that the Wellmark Defendants’ actions, as detailed below, detrimentally

impact patient health and the general welfare of the public, inasmuch as those actions

deprive and limit patient access to the Provider Plaintiffs’ treatment, and restrict and

otherwise interfere with and impede the relationships between the Provider Plaintiffs

and their existing and prospective patients.

       39.    Wellmark Defendants have agreed and conspired with their co-conspira-

tors to engage in, and continue to engage in, a pattern of price fixing and other discrimi-

nation against the Iowa Provider Plaintiffs. This price fixing and other discrimination

has occurred and is occurring in numerous ways, including:


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              (a)    Wellmark defendants have entered into agreements with other

potential price competitors to artificially fix a lower price for chiropractic services

and to limit or exclude chiropractic coverage from health plans offered by other po-

tential competitors for chiropractic services in Iowa;

              (b)    Wellmark Defendants have entered into agreements with other

independent entities to allocate territories and not to compete with each other in

those allocated territories;

              (c)    Wellmark defendants have imposed maximum fee schedules to

which chiropractors must agree with defendants, their co-conspirators, and with

each other in order to provide diagnostic and treatment services for their patients in

Iowa;

              (d)    Wellmark defendants have prescribed fees for chiropractic ser-

vices which are discriminatory to doctors of chiropractic in relation to the fees for

other health care practitioners for the same or similar services;

              (e)    Wellmark defendants have prescribed limitations upon and

make optional the coverage of diagnostic and treatment services of chiropractors

while not imposing the same standards and practices to the coverage of diagnostic

and treatment services of other practitioners of health care in Iowa licensed under

the chapters of Title IV, subtitle 3, of the Code of Iowa [Chapters 147 through 158];

              (f)    As administered by Wellmark, most “Blue Advantage” plans

caps the number of covered visits its subscribers may make to a doctor of chiroprac-

tic to 12, regardless of individual subscriber-patient circumstances. No such re-




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striction of 12 visits is imposed upon other health care providers-licensees. In addi-

tion, in order to continue with additional treatment after the 12-visit cap has been

reached, a subscriber-patient must obtain a referral from a “PCP” (Primary Care

Physician) before any additional treatment from a doctor of chiropractic will be cov-

ered by Wellmark. Absent obtaining such an approved referral, the subscriber-pa-

tient must either forgo further chiropractic treatment or pay for the additional treat-

ment personally, and then only after signing a waiver stating, in part, “I understand

that I am requesting a service that may not be fully covered by my insurance com-

pany. I agree to be financially responsible for the full amount.”

              (g)    According to the Administrative Services Agreement of

Wellmark Blue Cross and Blue Shield of Iowa, the co-conspirator self-funded enti-

ties pay a monthly Network Access Fee to Wellmark, which is the amount charged to

the self-funded entity to gain the collective advantages of the network of providers

with which Wellmark, any Host Blue, or any subcontractor has contracted for the

providing for appropriate provision of covered services. Section 1.16. According to

Section 3.1(b), one of Wellmark’s obligations to the self-funded entity is to “provide

access to networks of providers and . . . make information about the networks avail-

able to members through print, the Internet, and/or telephone service.” Section

3.1(e) says: “Wellmark shall determine benefits and process claims for health ser-

vices furnished members in accordance with the terms, limitations and conditions

set forth in the plan, the benefit documents, this agreement, applicable laws and

regulations, the terms of the applicable provider agreement, and the claims admin-

istrations and medical policies of Wellmark, as amended from time to time.” Part of


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the Network Access Fee is a percentage of Network Savings, which is “the amount

saved due to contract between Wellmark or another Blue Cross or Blue Shield Plan

and health care providers.” Wellmark processes claims for the self-funded entity

through a plan called BlueCard, which is described in Article 9 of the Administrative

Services Agreement. The Host Blue, in accordance with applicable BlueCard poli-

cies, is responsible for providing such services as contracting with its participating

providers and handling all interaction with its participating providers. Section 9.2.

               (h)   Beginning in approximately 2006, Wellmark Defendants at-

tempted to implement for itself and its co-conspirators a policy by which their sub-

scriber-patients who elected to seek chiropractic treatment would be covered for

only three treatment procedures per visit to a doctor of chiropractic regardless of

the acuity, severity, or nature of the patient’s condition or the number of her com-

plaints.

               (i)   Beginning in approximately 2007, Wellmark Defendants an-

nounced and attempted to implement for itself and its co-conspirators a policy by

which subscriber-patients and those persons who were employees of self-funded en-

tities administered by Wellmark Defendants would be required to seek preapproval

of an agent of the Wellmark Defendants before any chiropractic services would be

paid, which policy solely related to chiropractic services and to no other services of

any other health care practitioner licensed by the state of Iowa.

               (j)   Wellmark Health Plan of Iowa, Inc. (“WHPI”) and its co-con-

spirators have implemented a plan solely related to Iowa chiropractors and to no

other health care practitioner licensed in Iowa whereby Iowa chiropractors only are


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subject to a capitated payment system whereby chiropractors are paid at rate less

than 50% of the rate payable for PPO services, while all other Iowa licensed practi-

tioners covered by WHPI are paid pursuant to a schedule derived from the PPO pay-

ment schedules with a 7-9% discount.

       40.    The plaintiffs and the plaintiff class have been damaged since at least May

20, 2004 and continue to be damaged presently by receiving less than 50% than

Wellmark pays for Iowa chiropractic physicians in its PPO and much less than 50% of

what Wellmark defendants and their co-conspirators pay other health care practitioners

in Iowa for the same or similar services. This damage can be calculated through the ex-

amination of a schedule of fees prepared by the Wellmark defendants annually and com-

paring the compensation scheduled to be paid to plaintiffs and the plaintiff class to com-

pensation scheduled to be paid to other Iowa health care practitioner for the same or

similar services.

       41.    Historically, Wellmark’s predecessor under a former name was organized

and controlled by the Iowa Medical Society and the majority of its Board of Directors

were allopathic or osteopathic physicians. Under the control of allopathic and osteo-

pathic physicians, Wellmark’s predecessor under a former name refused to seek author-

ity to provide the services of chiropractors to its subscribers and members. In further-

ance of that combination and conspiracy, in more recent times the Wellmark entities

have established a scale of compensation for the same or similar diagnostic and treat-

ment services to its members wherein Iowa Doctors of Medicine (M.D.’s) and Doctors of

Osteopathy (D.O.’s) receive as much as 100% higher payment than chiropractors receive

for the same or similar diagnostic and treatment services. Contrary to the authority


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given by Chapter 514F of the Code of Iowa, however, and without filing with or obtain-

ing the explicit approval of the Iowa Insurance Commissioner, the annual rate schedule

for health care services which has been issued by Wellmark and which governs its pay-

ment of Iowa health care practitioners discriminates against those health care practi-

tioners licensed under Chapter 151 of the Code of Iowa.

       42.    In about September of 1998, Wellmark unilaterally offered one form of

participating provider agreement for all health care providers and adopted a payment

methodology purportedly based upon the Resource Based Relative Value System

(RBRVS) and began issuing annual RBRVS-based statewide fee schedules. Contrary to

the actual RBRVS rates established by the Federal government, however, Wellmark im-

plemented the RBRVS system in a manner which discriminated against chiropractic ser-

vices by establishing lesser rates for chiropractic diagnostic and treatment services than

for the same or similar services provided by M.D.’s, D.O.’s, physicians assistants, and

nurse practitioners.

                                CLAIMS FOR RELIEF

                               RESTRAINT OF TRADE

       43.    Plaintiffs and the Class they represent have been injured by conduct pro-

hibited by Section 553.4, Code of Iowa (2007), the anticompetitive consequences of such

conspiracy or conspiracies outweigh any procompetitive benefits.

       44.    Plaintiffs and the other members of the Class have been damaged in their

businesses and property by and as a proximate cause of the conduct of the Wellmark de-

fendants and their co-conspirators.




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       45.      The actions of the Wellmark Defendants are willful or flagrant in light of

the existing law of Iowa and the surrounding circumstances.

                                          PRAYER

       WHEREFORE, Plaintiffs pray for the following relief:

       1.       That the jury award plaintiffs and the plaintiff class damages in an amount

determined by the evidence for conduct in violation of the Iowa Competition Act for the

four years previous to the filing of this action and to the date of trial;

       2.       That the jury award plaintiffs and the plaintiff class double their actual

damages because of the egregious conduct of the Wellmark defendants;

       3.       That, pursuant to I.R.C.P. 1.275(4), the Court award attorneys’ fees to

Plaintiffs, and that, pursuant to Iowa Code § 553.12(4), the Court award the necessary

costs of bringing suit, including a reasonable attorney fee;

       4.       That the Court award plaintiffs and the plaintiff class injunctive relief from

the unreasonable horizontal restraints on competition, trade and commerce committed

by Wellmark defendants, and

       5.       That the Court award such other and further relief to which Plaintiffs are

justly entitled.

                                     JURY DEMAND

                The plaintiffs, by their attorneys of record, demand trial by jury of the

claims raised in their Petition which may be tried at law.

       Dated: October 5, 2015.

                                      HAWKINS & NORRIS, P.C.
                                      __/s/ Glenn L Norris_______________
                                      Glenn L. Norris AT0005907


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                                          ATTORNEYS FOR PLAINTIFFS

                                     CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing instrument was served upon all parties to the above cause or
to each of the attorneys of record herein at their respective addresses disclosed on the pleadings on the
__5th_day of _October___, 2015.

By:     ___ U.S.Mail    ___ Facsimile ___ Hand Delivery          ___ Overnight Courier

___ Fedex or UPS                _x_ E-mail       _x_ eFiling


____/s/ Glenn L Norris__________________________

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